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  8                             UNITED STATES DISTRICT COURT
  9           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10

 11    TIMOTHY RYAN, M.D., an individual,           Case No.: 2:17-cv-05752-CAS(RAOx)
 12                 Plaintiff,                      Judge: Hon. Christina A. Snynder
 13    v.
                                                    PLAINTIFF TIMOTHY RYAN,
 14    BRANT PUTNAM, M.D., an individual,           M.D.’S MEMORANDUM OF
       JANINE VINTCH, M.D., an individual,          POINTS AND AUTHORITIES IN
 15    ANISH MAHAJAN, M.D., an individual,          OPPOSITION TO DEFENDANTS’
       CHRISTIAN DE VIRGILIO, M.D., an              MOTION FOR SUMMARY
 16    individual, HAL F. YEE, M.D., an             JUDGMENT, OR
       individual, ROGER LEWIS, M.D., an            ALTERNATIVELY, PARTIAL
 17    individual, and MITCHELL KATZ, M.D.,         SUMMARY JUDGMENT
       an individual,
 18                                                 Date:     December 6, 2021
                    Defendants.                     Time:     10:00 a.m.
 19                                                 Ctrm:     8-D
 20
                                                    Action Filed: August 3, 2017
 21                                                 Trial Date: April 26, 2022
 22
                                                    [Filed Concurrently Herewith:
 23                                                 Response to Separate Statement;
                                                    Objections to Evidence; Declarations
 24                                                 of Timothy Ryan and Kenneth P. White
                                                    Thereto]
 25

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       PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT, OR ALTERNATIVELY,
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  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2                                     I. INTRODUCTION
  3         Dr. Timothy Ryan (“Dr. Ryan”), a vascular surgeon at Harbor-UCLA Medical
  4   Center (“Harbor”), detected two serious forms of fraud by his colleagues –falsifying
  5   qualifications related to a study the National Institute of Health (“NIH”) sponsored, and
  6   a scheme to use stent grafts in patients in exchange for kickbacks from a device
  7   manufacturer. When his supervisors did not take his reports seriously, Dr. Ryan
  8   exercised his First Amendment right to petition his government by reporting the
  9   misconduct to outside authorities. He reported his colleagues to the NIH for falsifying
 10   their qualifications and to the District Attorney’s Office for the kickback scheme.
 11         Dr. Ryan’s colleagues at Harbor retaliated with an effort to suspend his surgical
 12   privileges that destroyed his career. Acting directly at the demands of Dr. Rodney White,
 13   whose misconduct Dr. Ryan reported, doctors on Harbor’s Professional Staff
 14   Association’s (“PSA”) Medical Executive Committee (“MEC”) launched an
 15   investigation of Dr. Ryan, circulated false assertions about his conduct, demanded that
 16   he confess falsely as a price of keeping his surgical privileges at Harbor, and began to
 17   strip him of those medical privileges. As MEC members are employees of the County of
 18   Los Angeles and acted in retaliation against Dr. Ryan’s First Amendment rights, their
 19   actions violated 28 U.S.C. § 1983 (“Section 1983”).
 20         Two Defendants – Drs. Brant Putnam and Janice Vintch (collectively
 21   “Defendants”) – move for summary judgment (“Motion”), asserting that Dr. Ryan
 22   cannot prove his Section 1983 claim. Each of their arguments is patently meritless.
 23   Defendants claim that Dr. Ryan did not speak on a subject of public interest, but Dr.
 24   Ryan’s reports of official misconduct to outside authorities were quintessentially on a
 25   matter of public concern. Defendants claim that Dr. Ryan cannot prove that they were
 26   motived by retaliation against his speech, and that they would have imposed the same
 27   discipline whether or not he reported misconduct, but Dr. Ryan has submitted extensive
 28   admissible evidence showing their improper retaliatory motive, and creating a genuine
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  1   dispute of material fact precluding summary judgment. Defendants claim that qualified
  2   immunity protects them, a theory the Ninth Circuit previously rejected in this case. But
  3   Ninth Circuit precedent shows that their retaliation violated clearly established First
  4   Amendment rights. Dr. Putnam claims that Dr. Ryan cannot show he is liable for
  5   punitive damages. Evidence that shows Dr. Putnam engaged in retaliation also shows
  6   Dr. Ryan is entitled to punitive damages.
  7          Both genuine disputes of material fact and clear legal authority preclude summary
  8   judgment. This Court should deny the motion.
  9                   II. FACTUAL AND PROCEDURAL BACKGROUND
 10   A.     Dr. Ryan Reported Misconduct To The NIH and The District Attorney
 11          Dr. Ryan began working at Harbor as a Staff Vascular Surgeon in 2013. (DF1 9,
 12   47.) In 2014, Dr. Ryan became aware of a clinical trial the NIH sponsored called BEST-
 13   CLI. (DF 48) The trial required participants to have completed a set number of surgeries
 14   to be qualified. (DF 49.) Dr. Ryan doubted that some Harbor surgeons – including Drs.
 15   Rodney White and Carlos Donayre – had the requisite number of surgeries, and believed
 16   they falsified their applications in order to participate. (DF 49.) On December 4, 2014,
 17   Dr. Ryan reported his concerns to senior physicians at Harbor. (DF 50.) Based on their
 18   responses, Dr. Ryan believed they were not seriously investigating. (DF 51.) Dr. Ryan
 19   was concerned because he believed that public employees had falsified an application to
 20   a clinical trial, were not qualified to participate in the trial, their lack of qualifications
 21   would impact the reliability of the trial, and patients would be put at risk. (DF 52.) On
 22   December 4, 2014, Dr. Ryan contacted the NIH and reported his concerns. (DF 53.)
 23          In response to Dr. Ryan’s report to the NIH, the BEST-CLI trial management
 24   conducted an audit and found that “several members of the Harbor-UCLA team
 25   misrepresented their procedural volume histories to meet the criterial of independent
 26

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      1
        “DF” refers to Plaintiff’s Statement of Genuine Disputes of Material Fact, followed by
 28   the fact number. Plaintiff’s Statement contains all citations to the factual record.
                                                      2
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  1   endovascular operator.” (DF 45, 55.) The investigation further found that the surgeons
  2   at Harbor, including Drs. White and Donayre, were not qualified to conduct
  3   endovascular surgeries in the trial and could not enroll more patients. (DF 45, 55.)
  4   Defendants Drs. Putnam and Vintch were aware of this development. (DF 56, 99.)
  5         In December 2013, Dr. Ryan treated patient “BH” for an aortic dissection through
  6   medication, which he believed to be the correct course. (DF 57.) Shortly thereafter, Dr.
  7   White’s nurse Rowena Buwalda copied Dr. Ryan on an email reporting that she had
  8   instructed BH to come to the hospital the following day and to complain of chest pains
  9   when she did so. (DF 58.) Dr. Ryan discovered that Dr. White had re-admitted BH to
 10   Harbor under the false pretense of her having chest pains to make her admission appear
 11   to be an emergency, guaranteeing insurance payment. (DF 59.) Dr. Ryan also learned
 12   that Dr. Donayre had performed surgery on BH, implanting a stent graft Medtronic
 13   manufactured (DF 60), and that BH suffered a serious aortic injury from the stent graft
 14   surgery, resulting in a major stroke. (DF 62.)
 15         Dr. Ryan learned that Medtronic was paying Harbor physicians thousands per
 16   Medtronic stent implant surgery under the ruse of their teaching a “course” on how to
 17   perform the implant, even though no other physicians were present for these supposed
 18   “courses.” (DF 64-66.) The physicians were making thousands of dollars per surgery and
 19   Medtronic was being paid tens of thousands of dollars for the stents. (DF 66.) Dr. Ryan
 20   believed this represented doctors getting kickbacks from a device manufacturer to use
 21   their product, compromised medical judgment, and it threatened the health and safety of
 22   patients for whom the stent grafts were not indicated, as in the case of BH. (DR 68.) Dr.
 23   Ryan confronted Dr. Donayre about this, and Dr. Donayre admitted that Medtronic paid
 24   him and Dr. White for these “courses,” and Dr. Ryan had to learn to live with it. (DF 67.)
 25         Dr. Ryan first reported his concerns to superiors in January 2014. (DF 69.) Dr.
 26   Ryan approached Dr. Bruce Stabile, Chief of Surgery, who told Dr. Ryan that he should
 27   find a way to “restore harmony in the vascular division by finding a way to share fees”
 28   with Dr. White. (DF 69.) This response was shocking and unacceptable to Dr. Ryan, so
                                                   3
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  1   he went to Dr. Van Natta and repeated his concerns to him. (DF 70.) Dr. Van Natta told
  2   Dr. Ryan he should “keep [his] head down” during his six-month probationary period.
  3   (DF 70.) In Fall 2014, Dr. Ryan expressed his concerns to Dr. Putnam. (DF 71.)
  4         Dr. Ryan knew that the MEC conducted a Focused Professional Performance
  5   Evaluation (“FPPE”) of Doctor White in 2014 in response to Dr. Ryan’s complaint
  6   because the FPPE team interviewed Dr. Ryan. (DF 73.) Dr. Ryan told that team – which
  7   included Dr. DeVirgilio – about his concerns and conclusions about Dr. White and the
  8   Medtronic kickbacks. (DF 73.) But when Dr. Ryan saw Harbor taking no action about
  9   his complaint through the FPPE, he reported to criminal authorities. (DF 74.)
 10         Dr. Ryan to a Deputy District Attorney (“DDA”) on January 12, 2015, describing
 11   his concerns that Harbor physicians were getting kickbacks for implanting devices that
 12   were not indicated. (DF 75.) The DDA told Dr. Ryan that the DA’s would investigate,
 13   and later interviewed Dr. Ryan. (DF 75.) Shortly after his call with the DDA, Dr. Ryan
 14   told Dr. De Virgilio that he reported to the DA’s Office who would investigate. (DF 76.)
 15   In the Summer 2015, shortly after Dr. Ryan’s report to the DA’s Office, Medtronic
 16   “courses” at Harbor ceased. (DF 78.)
 17   B.    Dr. Putnam and Dr. Vintch Retaliated Against Dr. Ryan For His Reports
 18         1.    Dr. White’s Initial Complaint
 19         On January 26, 2015, shortly after NIH’s audit of the BEST-CLI trial, Dr. White
 20   submitted an email to Harbor leadership “to report invasion of personal privacy, and
 21   potential federal (HIPPA) and state (California Medical Privacy Act) patient privacy
 22   violations by Dr. Timothy Ryan.” (DF 79.) On February 4, 2015, Dr. White submitted a
 23   package of information in support of his complaint. (DF 80.) Dr. White’s February 4,
 24   2015 affidavit complained Dr. Ryan had improperly reviewed medical records and
 25   approached Harbor personnel to collect information regarding Dr. White and his
 26   patients. (DF 81.) This was a reference to information Dr. Ryan gathered for his report to
 27   the NIH and the DA’s Office. (DF 82.) Dr. White included a report of surgeries that Dr.
 28   Ryan supposedly asked an assistant to provide. (DF 83.) In fact, the report showed it was
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  1   created on January 30, 2015, after Dr. Ryan investigated, after the NIH’s audit, and after
  2   Dr. White’s complaint. (DF 84.)
  3         The MEC, of which both Drs. Putnam and Vintch were members, investigated Dr.
  4   White’s complaint before September 2015. (DF 6-7, 101.) The MEC knew Dr. White
  5   was complaining Dr. Ryan had gathered patient information to send it to the NIH and
  6   that the NIH had determined that Dr. White had falsified his experience to participate in
  7   the study. (DF 101.) The MEC referred the issue to Harbor’s HIPAA Compliance
  8   Officer, who found no HIPAA violation. (DF 101.) Having “spent months and worked
  9   very diligently” on the investigation and believed it had “investigated adequately,” the
 10   MEC took no action against Dr. Ryan. (DF 85, 101.)
 11         2.     Dr. White’s Request For Corrective Action
 12         Dr. White was not satisfied. On August 24, 2015, Dr. White sent Dr. Putnam a
 13   Request for Corrective Action demanding the PSA take action against Dr. Ryan (DF 96)
 14   for allegedly violating HIPAA, the Confidentiality of Medical Information Act, and Dr.
 15   White’s privacy by asking for and reviewing medical records. (DF 97.) Once again, Dr.
 16   White was describing Dr. Ryan’s actions asking for and reviewing medical records to
 17   make a report to the NIH and DA’s Office. (DF 98.)
 18         Dr. Putnam circulated Dr. White’s request to Drs. Vintch and Dan Castro. (DF
 19   99.) Dr. Castro counseled Drs. Putnam and Vintch that “this particular complaint seems
 20   steeped in historical interactions that may never be fully understood.” Nevertheless, on
 21   September 28, 2015, Dr. Putnam presided over a MEC meeting with Dr. Vintch present
 22   to discuss Dr. White’s request. At this time, Dr. Putnam, the person leading the meeting,
 23   would generally draft the minutes. (DF 109.) The minutes of the September 28, 2015
 24   meeting show that the MEC acknowledged that the MEC had previously adequately
 25   considered and rejected Dr. White’s claims and that revisiting them could be seen as
 26   retaliatory.2 Nevertheless, the MEC decided to reopen its investigation reach out to
 27
      2
 28    The minutes reflected the MEC found that “Dr. White had previously complained
      about Dr. Ryan six to nine months before; Dr. Ryan “somehow found out or looked up
                                                  5
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  1    Harbor’s HIPAA compliance officer “to get more details.” (DF 101.)
  2          More than a year after the September 28, 2015 meeting, Dr. Putnam sent Dr.
  3    Vintch a package of all MEC minutes concerning Dr. Ryan and asked her to “look them
  4    over.” (DF 102.) In this package, the minutes of the September 28, 2015 MEC
  5    meeting were substantially altered. They were shorter, removed the references to Dr.
  6    Ryan’s claims against Dr. White, removed the admission that Dr. White’s complaints
  7    were based on Dr. Ryan’s investigations of the BEST-CLI trial, and omitted the
  8    statement that taking further action could be seen as retaliation because the MEC felt it
  9    had already investigated adequately. (DF 103.) Dr. Putnam sent this version of the
 10    minutes to the MSO to act as the official minutes of the MEC meeting, and said he
 11    would come sign them. (DF 105.) Defendants submitted that altered version of the
 12    minutes to this Court in this Motion. (DF 104.)3
 13

 14    how many cases Dr. White had completed and contacted the NIH saying that Dr. White
       is committing medical fraud for being a participant in the study while he had not
 15    completed enough cases in order to participate”; Dr. White “said that Dr. Ryan
       committed a HIPAA violation because he must have gone through medical records to
 16    find out what his cases and case quality was”; an investigation found that Dr. White had
       not conducted the number of cases he represented in his application to the study; that the
 17    PSA had “spent months and worked very diligently on this and ultimately there was no
       resolution” and “now we are being asked to investigate this again”; the PSA had referred
 18    the alleged HIPAA violation to the Compliance Officer, who concluded based on their
       review there was no HIPAA violation; “these complaints were taken seriously and went
 19    appropriately to HR Performance Management and the HIPAA Compliance Officer and
       the difference now is that there are attorneys involved and litigation”; “We had a
 20    recognized HIPAA Compliance Officer review the case and it was found that no HIPAA
       violation occurred on the part of Dr. Ryan. About six months later Dr. White decided to
 21    bring his own attorney in and sue Dr. Ryan. Concurrently Dr. White sent an email to
       Drs. Van Natta and Putnam Requesting PSA corrective action against Dr. Ryan”; and
 22    that “Dr. Ryan considers himself a whistleblower because he thought this bad thing
       happened and he wanted to do right. He further believes that any action taken against
 23    him, by us, would be considered retaliation”; that “To take a corrective action beyond
       the investigation could be considered retaliation because we feel this issue has been
 24    investigated adequately. On the other hand, it is not necessarily under the purview of the
       whistleblower to do their own investigation and start digging into whatever they want.”
 25    (DF 101.)
       3
 26      It is clear that Drs. Putnam and Vintch were responsible for these alterations to the
       minutes. Drs. Vintch and Putnam admitted that when they were part of the PSA
 27    leadership, they would exchange draft minutes of meetings to verify their accuracy. (DF
       108.) They would circulate the minutes at the next meeting, make any changes MEC
 28    members requested, ask the MEC to approve the minutes, sign and date them. (DF 108-
       12.) After Dr. Putnam signed the minutes, which he tried to do “routinely,” he would
                                                    6
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  1          3.     Dr. White’s Addendum To His Complaint
  2          In November 2015, Dr. White submitted an “Addendum” to his Request for
  3    Corrective Action complaining that Dr. Ryan filed a complaint against him with the
  4    County. (DF 117.) Dr. Putnam did not understand Dr. White’s Addendum to refer to any
  5    specific behavior by Dr. Ryan other than filing a complaint with the County. (DF 118.)
  6    Nevertheless, Dr. Putnam presided over a MEC meeting on December 28, 2015 to
  7    discuss the Addendum, and MEC recommended that Dr. De Virgilio, the Chair of
  8    Surgery, form an Ad Hoc Committee to conduct a Focused Professional Performance
  9    Evaluation (“FPPE”) of Dr. Ryan. (DF 120.) Dr. Putnam immediately wrote to Dr.
 10    White to inform him that MEC formed a committee to conduct an FPPE on Dr. Ryan.
 11    (DF 119, 122.) Dr. White openly complained to Harbor leaders that Dr. Ryan had
 12    violated HIPAA by gathering data “to initiate the Fraud investigation against Harbor
 13    (me) with the trial Steering Committee, and the NIH.” (DF 121.)
 14         4.     The FPPE Process Violated PSA Practices And Yielded A Knowingly
 15                Inaccurate Report About Dr. Ryan
 16          The FPPE report accused Dr. Ryan of accessing and requesting medical records
 17    improperly, but did not discuss or disclose that he was doing so to gather information to
 18    provide to the NIH, even though the MEC had previously acknowledged that was the
 19    case. (DF 101, 127.) The FPPE asserted that Dr. White and Dr. Donayre were leaving
 20    Harbor because of Dr. Ryan, but did not discuss or disclose that Dr. Ryan’s report to the
 21    NIH had resulted in Dr. White and Dr. Donayre being disqualified for participation in
 22    endovascular procedures in the BEST-CLI trial and had led to Medtronic no longer
 23    paying for them to give “courses” surrounding use of Medtronic stent grafts. (DF 128.)
 24          The FPPE also accused Dr. Ryan of yelling and other “unprofessional behavior”
 25

 26    submit them to the MSO to be maintained. (DF 112-13.) Minutes were “absolutely” not
       to be altered after they had been signed and submitted. (DF 114.) Drs. Putnam and
 27    Vintch could not explain why Dr. Putnam circulated unsigned minutes concerning Dr.
       Ryan more than a year after the meeting for later signing and submission to the MSO.
 28    (DR 106.)
                                                   7
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  1    towards medical staff. (DF 24.) Those accusations were not true. (DF 24.) More
  2    importantly, the PSA did not address the allegations consistently with its rules and
  3    normal practices. The PSA’s bylaws encourage physician discipline through
  4    “progressive steps” beginning with “collegial and educational efforts.” (DF 138.) When
  5    other physicians have been accused of raising their voices in the operating room, Dr.
  6    Putnam managed it by counseling them before resorting to an FPPE. (DF 136.) Indeed,
  7    Dr. Putnam’s “first approach” to a physician accused of unprofessional behavior is to get
  8    the physician’s supervisor involved and pursue appropriate counseling before getting the
  9    PSA involved. (DF 137.) Neither Dr. Putnam nor Dr. Ryan’s supervisor, Dr. De Virgilio
 10    was not aware of any counseling of Dr. Ryan before the FPPE. (DF 139, 143, 145.) That
 11    is because there were no such efforts. Nobody counseled Dr. Ryan about any of Dr.
 12    White’s complaints described in the FPPE. (DF 140, 144, 146.) Moreover, Dr. Ryan had
 13    observed other doctors yelling and swearing at nurses and doctors without being
 14    disciplined. (DF 141.) Drs. Putnam and Donayre have yelled in the operating room and
 15    not been disciplined. (DF 142.)
 16          The FPPE also included witness statements that Defendants and MEC knew to be
 17    untrue, and that expressed anger at Dr. Ryan’s report to the NIH and District Attorney.
 18    The statements quoted Dr. White as saying that he was “cleared of allegations” by the
 19    NIH report, though as the MEC know, the investigators found that Dr. White and others
 20    had falsified their qualifications to do endovascular surgery and could not continue to
 21    enroll patients to the BEST-CLI trial. (DF 130.) The statements quoted Dr. De Virgilio
 22    as saying that the NIH found Dr. Ryan’s complaint and determined it was unfounded,
 23    untrue for the same reasons. (DF 131.) The witness statements quoted Dr. De Virgilio as
 24    saying, “DHS is auditing income of Dr. White’s research team because of Dr. Ryan’s
 25    complaints.” (DF 132.) The statements quoted Dr. Donayre as complaining about Dr.
 26    Ryan’s report to the NIH and saying the NIH audit “cleared” him and Dr. Donayre,
 27    which was untrue. (DF 133.) The statements quoted Dr. Donayre as saying that as a
 28    result of Dr. Ryan’s report to the NIH, “Dr. Donayre felt the need to constantly look
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  1    over his shoulders all the time because of Dr. Ryan. For this reason, Dr. Donayre
  2    decided to leave Harbor-UCLA.” (DF 134.)
  3          Dr. Putnam circulated the FPPE to Dr. Vintch on February 26, 2016. (DF 135.)
  4          5.     The PSA Demanded That Dr. Ryan Accept A “Behavioral Contract”
  5                 Based On False Accusations
  6          On April 25, 2016, Dr. Putnam presided over an MEC meeting. (DF 147.) The
  7    original minutes of that meeting, which Dr. Putnam signed and dated in May 2015,
  8    included damning admissions by the MEC (DF 148): “A meeting with Dr. Hal Yee was
  9    held to discuss any action that might be taken against Dr. Ryan that might compromise
 10    the County. Any action that we take will be separate from any action taken by LA
 11    County.” “The fear was that any action we take might comprise [sic] what the county is
 12    doing or might create a medical-legal action against us. Dr. Yee suggested we proceed
 13    with caution because there was concern about whistleblowing as there were two parts of
 14    the law suit.” The minutes also cited Harbor’s HIPAA Privacy Officer, who reported
 15    that County Counsel’s initial findings on January 19, 2016 were that “Dr. Ryan did not
 16    receive APHI [Protected Health Information] based on a document they have,” and
 17    “when the clerk was asked for the actual form that was submitted, she could not produce
 18    it. She stated that when Dr. Ryan made the request, she did not question him because he
 19    was a person of authority,” and “we have a policy in place that needs to be completed
 20    and we are obligated to report Dr. Ryan to the state.” (DF 148.)
 21          Dr. Putnam removed these harmful admissions from the altered version of the
 22    minutes that Dr. Putnam circulated to Dr. Vintch in December 2016 and then submitted
 23    to the MSO as the official record of the meeting. (DF 146.) He removed references to
 24    “compromising” the County and Dr. Yee’s caution about whistleblowing, a substantial
 25    narrative about the FPPE was inserted, the discussion of Mr. Valentin’s report was
 26    altered to assert that Dr. Ryan had requested protected health information
 27    inappropriately, and deleted the reference to the clerk not being able to produce the key
 28    document. (DF 149.) Once again, Drs. Putnam and Vintch could not explain why there
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  1    were different versions of the minutes. (DF 150, 151.)
  2          On July 25, 2016, the MEC voted to develop a Behavioral Contract for Dr. Ryan
  3    and revoke his privileges at Harbor if he did not agree to it. (DF 30.) The proposed
  4    contract required Dr. Ryan to admit to wrongdoing he had not committed. (DF 33, 154.)
  5    The contract included a term requiring Dr. Ryan to make complaints about other
  6    physicians only within Harbor channels (DF 171) and a waiver of claims against
  7    everyone involved in the Agreement. (DF 172.) Drs. Vintch and Putnam were not aware
  8    of any other Behavioral Agreement with a waiver of claims. (DF 156.) Moreover,
  9    another doctor given a Behavioral Agreement for “unprofessional, intimidating,
 10    disruptive” behavior did not include any such waiver. (DF 157.)
 11          The MEC, including Drs. Putnam and Vintch, did not expect Dr. Ryan to accept
 12    the proposed Behavioral Contract. (DF 153.) Dr. Ryan told Dr. De Virgilio that the
 13    proposed Behavioral Contract was unacceptable because it required him to admit to
 14    things he did not do and restricted him from reporting misconduct outside Harbor and
 15    forced him to waive claims. (DF 33.) Dr. Putnam and the MEC refused to make any
 16    changes to the proposed Behavioral Agreement. (DF 33.)
 17          6.     Dr. Putnam’s Letters To Dr. Ryan About The Plan To Suspend Him
 18          On October 5, 2016, Dr. Putnam sent Dr. Ryan a Notice of Proposed Adverse
 19    Action and Hearing Rights informing him of the intent to suspend his privileges because
 20    he refused to sign the Behavioral Agreement. (DF 161.) On November 10, 2016, Dr.
 21    Putnam sent Dr. Ryan a “Notice of Charges” outlining the PSA’s accusations against
 22    him. (DF 162) That Notice listed “Openly threatening to call external agencies to
 23    conduct investigations” and “Openly making unfounded accusations in an angry
 24    manner” as some of Dr. Ryan’s violations. (DF 162.) It did not mention HIPAA
 25    violations. (DF 162.) It was in December 2016, immediately after that Notice, that Dr.
 26    Putnam circulated the altered MEC minutes to Dr. Vintch for her comment. (DF 164.)
 27    On February 27, 2017, Dr. Putnam sent Dr. Ryan a First Amended Notice of Charges
 28    setting forth the PSA’s accusations against him. (DF 165.) The Amended Notice deleted
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  1    the allegations that Dr. Ryan “Openly threaten[ed] to call external agencies to conduct
  2    investigations” and “Openly ma[de] unfounded accusations in an angry manner”,
  3    leaving an empty bullet point where those allegations had been. (DF 165.) The Amended
  4    Notice still did not mention HIPAA. (DF 165.)
  5                                         III. ARGUMENT
  6    A.    Legal Standard
  7          Summary judgment is proper only where the pleadings and materials demonstrate
  8    that “there is no genuine issue as to any material fact and ... the movant is entitled to
  9    judgment as a matter of law.” Fed.R.Civ.P. 56(c)(2); Celotex Corp. v. Catrett, 477 U.S.
 10    317, 322 (1986). An issue is genuine if “the evidence is such that a reasonable jury could
 11    return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.
 12    242, 248 (1986). A material fact is one “that might affect the outcome of the suit under
 13    the governing law.” Id. The moving party has the initial burden to show that no genuine
 14    issue of material fact exists. Fed.R.Civ.P. 45(a); Nissan Fire & Marine Ins. v. Fritz Cos.,
 15    210 F.3d 1099, 1102-03 (9th Cir. 2000). In ruling on a motion for summary judgment,
 16    the court must view the evidence, and any inferences based on underlying facts, in the
 17    light most favorable to the opposing party. Twentieth Century-Fox Film Corp. v. MCA,
 18    715 F.2d 1327, 1328-29 (9th Cir. 1983). If a genuine dispute of material fact exists the
 19    court must deny summary judgment. Anderson, 477 U.S. at 248.
 20          To prove Defendants retaliated against Plaintiff’s protected speech in violation of
 21    Section 1983, Dr. Ryan must prove “(1) whether the plaintiff spoke on a matter of public
 22    concern; (2) whether the plaintiff spoke as a private citizen or public employee; and (3)
 23    whether the plaintiff’s protected speech was a substantial or motivating factor in the
 24    adverse employment action . . . .” Ellins v. City of Sierra Madre, 710 F.3d 1049, 1056
 25    (9th Cir. 2013). The burden then shifts to Defendants to show “(4) whether the state had
 26    an adequate justification for treating the employee differently from other members of the
 27    general public; and (5) whether the state would have taken the adverse employment
 28    action even absent the protected speech.” Id.
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  1    B.    Dr. Ryan’s Reports of Misconduct Are on a Subject of Public Concern
  2          Defendants first argue that Dr. Ryan did not speak on a subject of public concern
  3    when he made his reports to the NIH and the DA’s Office. (Motion 18-19.) This
  4    assertion is clearly wrong as a matter of law.
  5          Whether speech is on an issue of public concern is a matter of law. Connick v.
  6    Myers, 461 U.S. 138, 148 n.7 (1983). Though speech “focused solely on internal policy
  7    and personal grievances” is not a matter of public concern, Lambert v. Richard, 59 F.3d
  8    at 134, 136 (9th Cir. 1995), when speech “can fairly be considered to relate to ‘any
  9    matter of political, social, or other concern to the community’” it is a matter of public
 10    concern. Ellins, 710 F.3d at 1057, quoting Johnson v. Multnomah Cnty., 48 F.3d 420,
 11    422 (9th Cir.1995). Such speech can only be classified as private if it is “clear that such
 12    speech deals with individual personnel disputes and grievances and that the information
 13    would be of no relevance to the public’s evaluation of the performance of governmental
 14    agencies.” McKinley v. City of Eloy, 705 F.2d 1110, 1114 (9th Cir. 1983). “The scope of
 15    the public concern element is defined broadly in recognition that ‘one of the
 16    fundamental purposes of the first amendment is to permit the public to decide for itself
 17    which issues and viewpoints merit its concern.’” Ulrich v. City & Cty. of San Francisco,
 18    308 F.3d 968, 978 (9th Cir. 2002), quoting McKinley, 705 F.2d at 1114. Speech is
 19    especially likely to be a matter of public concern when it deals with alleged government
 20    misconduct. Dahlia v. Rodriguez, 735 F.3d 1060, 1067-68 (9th Cir. 2013), (“reporting
 21    police abuse and the attempts to suppress its disclosure—is quintessentially a matter of
 22    public concern”); Thomas v. City of Beaverton, 379 F.3d 802, 809 (9th Cir.2004)
 23    (“[u]nlawful conduct by a government employee or illegal activity within a government
 24    agency is a matter of public concern”).
 25          Here, the evidence shows that Dr. Ryan’s reports were inescapably matters of
 26    public interest. First, Dr. Ryan’s report to the NIH alone satisfies this standard. He
 27    believed doctors were falsifying their qualifications to participate in a medical study.
 28    (DF 45, 55.) He was right – the audit “found that several members of the Harbor-UCLA
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  1    team misrepresented their procedural volume histories to meet the criteria of
  2    independent endovascular operator,” and that the doctors at Harbor were not qualified to
  3    conduct endoscopic surgeries in the trial and could not enroll more patients to the trial
  4    until they recruited other doctors. (DF 45 [emphasis added].) Though the NIH
  5    determined that this misrepresentation “would not constitute research misconduct” (DF
  6    45), the fact that government employees misrepresented their qualifications and the NIH
  7    instructed Harbor to stop enrolling patients to a clinical trial is clearly a matter of public
  8    interest. Roth v. Veteran's Admin., 856 F.2d 1401, 1411 (9th Cir.1988) [doctor who
  9    raised ethics complaints at hospital spoke on matter of public interest, as “[i]t can hardly
 10    be doubted that the efficient and ethical operation of the VA and the VA's compliance
 11    with applicable rules and regulations are inherently of interest to the public.”], overruled
 12    on other grounds by Garcetti v. Ceballos, 547 U.S. 410 (2006).
 13          Moreover, Defendants’ argument completely ignores Dr. Ryan’s reports about
 14    kickbacks and improper implantation of medical devices, which is even more clearly a
 15    matter of public interest. (Motion 18-19.) Dr. Ryan reported to the DA’s Office that
 16    government employees were implanting unneeded stent grafts in patients in exchange
 17    for payments from the device manufacturer. (DF 64-79.) It is difficult to imagine a
 18    starker case of fraud, misconduct, and threat to public health. Defendants own cases
 19    require this conclusion. Marable v. Nitchman, 511 F.3d 924, 927 (9th Cir. 2007) (speech
 20    claiming public employees made false statements about overtime and improperly
 21    supplemented their pay were matters of public concern); Thomas, 379 F.3d at 809
 22    (“[u]nlawful conduct by a government employee or illegal activity within a government
 23    agency is a matter of public concern.”).
 24          Defendants imply that Dr. Ryan’s complaints were not matters of public interest
 25    because they were mistaken or exaggerated. (Motion 18-19.) But the NIH determined
 26    that Harbor doctors had misrepresented their qualifications and that Harbor could no
 27    longer enroll patients in the trial as a result. (DF 45.) More importantly, it is irrelevant.
 28    In considering whether a government employee’s complaints about misconduct are
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  1    matters of public concern, courts do not consider whether they were accurate or false.
  2    Johnson, 48 F.3d at 424 (even “recklessly false statements are not per se unprotected by
  3    the First Amendment when they substantially relate to matters of public concern”);
  4    Thomas, 379 F.3d at 809 (employee’s complaints about perceived unlawful conduct
  5    were protected even if the conduct was not actually unlawful).
  6          Finally, Defendants argue that Dr. Ryan’s internal reports within Harbor are not
  7    protected speech. (Motion 19-20.) As Dr. Ryan’s First Amended Complaint (“FAC”)
  8    makes clear, those purely internal reports are not the basis of his claim. Rather, his claim
  9    is based on the retaliation for his reports to the NIH, the DA’s Office, and Attorney
 10    General’s Office. (FAC at ¶ 41.)
 11    C.    Genuine Disputes of Material Fact Preclude Summary Judgment On Motive
 12          Defendants next argue that Dr. Ryan cannot prove that his protected speech was a
 13    substantial or motivating factor in the actions Defendants took against him. Substantial
 14    evidence creates genuine disputes of material fact regarding Defendants’ motives. Proof
 15    of motive “may be met with either direct or circumstantial evidence, and involves
 16    questions of fact that normally should be left for trial.” Ulrich, 308 F.3d at 979-80. “[A]
 17    plaintiff need only offer ‘very little’ direct evidence of motivation to survive summary
 18    judgment on this element.” Id. Dr. Ryan can prove retaliatory motive “with either direct
 19    or circumstantial evidence.” Dr. Ryan can establish retaliatory motive in three ways: “(1)
 20    proximity in time between the protected action and the allegedly retaliatory employment
 21    decision, from which a jury logically could infer [that the plaintiff] was terminated in
 22    retaliation for his speech.” (2) “evidence that his employer expressed opposition to his
 23    speech, either to him or to others. (3) “evidence that his employer's proffered
 24    explanations for the adverse employment action were false and pretextual.” Coszalter v.
 25    City of Salem, 320 F.3d 968, 977 (9th Cir. 2003).
 26          Dr. Ryan has more than enough evidence under this standard to create a genuine
 27    dispute of material fact about Defendants’ motivation.
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  1          1.     Proximity In Time Shows Defendants’ Retaliatory Motive
  2          Defendants argue that that Dr. Ryan’s reports to the NIH and DA’s Office are too
  3    removed in time from the discipline they undertook against him. (Motion 20-21.)
  4    Defendants’ argument is based on misrepresentation of the timeline of relevant events.
  5    The relevant comparison is not the very beginning of the process – Dr. Ryan’s reports in
  6    December 2014 and January 2015 – and the very end, the Notice of Charges in
  7    November 2016. The relevant comparison is between the time that Dr. White demanded
  8    that the PSA punish Dr. Ryan for making reports to outside authorities, and the time that
  9    the Defendants began to do so. The PSA initially rejected Dr. White’s complaints. (DF
 10    101.) But when Dr. White escalated with his August 24, 2015 Request for Corrective
 11    Action in which he complained again of the things Dr. Ryan did to investigate him and
 12    report him to the NIH (DF 96-98), the MEC – then led by Drs. Putnam and Vintch (DF
 13    6-7) – immediately held a meeting on September 28, 2015, acknowledged that they had
 14    previously adequately investigated the matter, but agreed to start investigating again.
 15    (DF 101.) When Dr. White sent an “Addendum” in November 2015 that focused
 16    explicitly and only on Dr. Ryan filing a complaint against him (DF 117-118),
 17    Defendants again immediately acted in December 2015 by voting to form an Ad Hoc
 18    Committee to conduct an FPPE against Dr. Ryan, and assured Dr. White that they had
 19    done so. (DF 119-20.) The fact that the rest of the process then took many months to
 20    play out does not matter. The relevant inferences arise from Dr. White demanding
 21    retaliation for reporting him to the NIH and the MEC – under Drs. Putnam and Vintch –
 22    immediately doing so. That gap was only weeks, which is short enough to support an
 23    inference of retaliatory intent. Coszalter, 320 F.3d at 978 (gap of a few months between
 24    speech and action supported inference of retaliation).
 25          Defendants also cite Knickerbocker v. City of Stockton, 81 F.3d 907, 911-12 (9th
 26    Cir. 1996), for the proposition that a short time between speech and response does not
 27    support an inference of retaliation when there are other plausible explanations for the
 28    response. But in Knickerbocker the parties did not dispute that the employer was
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  1    motivated at least in part by unprotected behavior, and the timing was the plaintiff’s only
  2    proof of retaliatory motive. Id. Here, by contrast, there is no such concession by Dr.
  3    Ryan, and Dr. Ryan has presented extensive evidence of motive beyond timing.
  4          2.     Opposition To Dr. Ryan’s Speech Shows Retaliatory Motive
  5          Dr. Ryan can prove retaliatory motive with “evidence that his employer expressed
  6    opposition to his speech, either to him or to others.” Coszalter, 320 F.3d at 977. Trecord
  7    is replete with such evidence, often in the form of Defendants endorsing Dr. White’s
  8    explicit complaints about protected speech. The MEC first investigated Dr. Ryan in
  9    response to a report from Dr. Putnam that expressly complained about Dr. Ryan’s
 10    investigatory steps in reporting Dr. White to the NIH. (DF 81-82.) Dr. Van Natta told
 11    Dr. Putnam that he was concerned that Dr. Ryan would “take it upon himself to pursue
 12    other avenues that could be damaging to DHS” if the investigation of Dr. White was
 13    insufficiently vigorous. (DF 91.) The MEC reopened its investigation of Dr. Ryan based
 14    on Dr. White’s Request for Corrective Action that once again complained of the
 15    measures Dr. Ryan used to investigate and report Dr. White to NIH (DF 97-98), and an
 16    Addendum that complained solely of Dr. Ryan filing a complaint about Dr. White. (117-
 17    18.) The unaltered MEC minutes showed explicit discussions of Dr. White’s complaint
 18    that Dr. Ryan had reported him to NIH, and remarked “it is not necessarily under the
 19    purview of the whistleblower to do their own investigation and start digging into
 20    whatever they want.” (DF 101.) The MEC relied on an FPPE report that repeatedly
 21    complained about Dr. Ryan’s report to NIH and misstated the outcome of the report, and
 22    included an explicit complaint that Dr. Ryan’s reports had led to an audit. (DF 131-34.)
 23    The MEC, through Dr. Putnam, sent Dr. Ryan a Notice of Charges accusing him of
 24    “Openly threatening to call external agencies to conduct investigations” and “Openly
 25    making unfounded accusations in an angry manner,” then deleted those admissions. (DF
 26    162, 165.) These all reflect Defendants expressing opposition to Dr. Ryan’s speech,
 27    “either to him or to others,” through acting upon and endorsing, accepting, and voicing
 28    complaints about Dr. Ryan’s speech. Coszalter, 320 F.3d at 977.
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  1          3.     Evidence Shows Defendants’ Proffered Reasons Were Pretextual
  2          Defendants claim that Dr. Ryan has no evidence of pretext. (Motion 21.) That
  3    claim is nonsense. Dr. Ryan presented extensive evidence that the reasons Drs. Putnam
  4    and Vintch offered to investigate Dr. Ryan, order a FPPE of him, demand he sign a
  5    Behavioral Agreement, and seek to suspend him for not signing it were all pretextual.
  6          First, Drs. Putnam and Vintch participated in altering minutes to conceal the
  7    MEC’s knowledge that it was acting out of retaliation. Drs. Vintch and Putnam admitted
  8    that they drafted the minutes, exchanged them with each other for comments, had the
  9    MEC approve them, signed and submitted them. (DF 108-113.) Dr. Vintch said that they
 10    would never alter them after they had been signed. (DF 114.) But in 2016 Dr. Putnam
 11    circulated unsigned minutes from all of the past MEC meetings about Dr. Ryan to Dr.
 12    Vintch for comment, and then submitted those minutes to the MSO as the official record.
 13    (DF 102, 104.) Those minutes had been altered on at least two crucial dates: September
 14    28, 2015 and April 26, 2016. The first had been altered to remove references to the
 15    discussion of Dr. Ryan’s allegations against Dr. White, remove the acknowledgement
 16    that Dr. White’s complaints were based on Dr. Ryan’s investigation and report to the
 17    NIH, remove reference to the prior investigation clearing Dr. Ryan of HIPAA violations,
 18    and remove the warning that restarting the investigation could be retaliation because
 19    they had already investigated adequately. (DF 100, 103.) The April 25, 2016 minutes
 20    were altered to remove references to the MEC’s investigation “compromising” the
 21    county, to Dr. Yee’s statement that they proceed with caution because of the perception
 22    of whistleblowing, and the admission that a prior investigation showed that Dr. Ryan
 23    had not received protected health information. (DF 148, 149.) In its place they inserted
 24    language about Dr. Ryan’s FPPE and inserted assertions that Dr. Ryan had improperly
 25    accessed patient information. (DF 148, 149.)
 26          Second, Drs. Putnam and Vintch abandoned the PSA’s normal approach to
 27    physician discipline in pursuing Dr. Ryan. The FPPE accused Dr. Ryan of yelling and
 28    other “unprofessional behavior” towards members of the medical staff. (DF 24.) The
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  1    PSA did not address the allegations consistently with its rules and normal practices. The
  2    PSA’s bylaws encourage physician discipline through “progressive steps” beginning
  3    with “collegial and educational efforts.” (DF 138.) When other physicians have been
  4    accused of raising their voices in the operating room, Dr. Putnam has handled it by
  5    counseling before resorting to an FPPE. (DF 136.) Indeed, Dr. Putnam’s “first
  6    approach” to a physician accused of unprofessional behavior has always been to get the
  7    physician’s supervisor involved and pursue appropriate counseling before getting the
  8    PSA involved. (DF 137.) But Dr. Putnam and Dr. De Virgilio were not aware of any
  9    counseling of Dr. Ryan before the FPPE. (DF 139, 143, 145.) In fact, nobody counseled
 10    Dr. Ryan about any of Dr. White’s complaints, nor of the yelling or “unprofessional
 11    behavior” described in the FPPE. (DF 140, 144, 146.) Moreover, Dr. Ryan had
 12    observed other doctors yelling and swearing at nurses and doctors without being
 13    disciplined. (DF 141.) Drs. Putnam and Donayre have yelled in the operating room and
 14    not disciplined. (DF 142.) Dr. Ryan was therefore disciplined for conduct that did not
 15    result in discipline against others.
 16          Third, Dr. Putnam and Dr. Vintch led the MEC’s investigation of Dr. Ryan even
 17    though they knew that by doing so they were advancing Dr. White’s retaliatory scheme
 18    against him. The MEC, through Drs. Putnam and Vintch, led an investigation based on
 19    Dr. White’s initial explicitly retaliatory complaint and cleared Dr. Ryan after doing what
 20    it thought was an “adequate” investigation. (DF 79-85.) Dr. Putnam knew at the time
 21    that there were “ongoing issues” between Dr. White and Dr. Ryan (DF 94). When Dr.
 22    White doubled down with his expressly retaliatory “Request for Corrective Action,” Drs.
 23    Putnam and Vintch proceeded with it even in the face of Dr. Castro’s warning that “this
 24    particular complaint seems steeped in historical interactions that may never be fully
 25    understood.” (DF 96-100.) At the resulting MEC meeting Dr. Putnam led, the MEC
 26    acknowledged that it had previously adequately investigated Dr. White’s claims and that
 27    responding could therefore be retaliatory. (DF 101.) Shortly thereafter, Dr. Putnam and
 28    Dr. Vintch sought out Dr. Van Natta to talk to him about “Tim Ryan and his current
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  1    activities at Harbor.” (DF 105.) Later, when Dr. White submitted his Addendum – which
  2    explicitly complained only about Dr. Ryan filing a complaint against him – Drs. Putnam
  3    and Vintch advanced the investigation further in response, ordering a FPPE of Dr. Ryan,
  4    notwithstanding Dr. Yee’s caution that the investigation could be perceived as
  5    retaliatory. (DF 117-118. 120, 148.) Dr. Putnam even updated Dr. White on the steps
  6    they were taking in response to his explicitly retaliatory demand, though he never
  7    updated Dr. Ryan on his complaints about Dr. White. (DF 71-72, 119.)
  8          Fourth, Drs. Putnam and Vintch pursued the investigation against Dr. Ryan in the
  9    face of information they knew to be false. Dr. White submitted a clearly fabricated
 10    report that Dr. White claimed Dr. Ryan had requested in the course of his NIH
 11    investigation, but which was dated after Dr. White’s complaint. (DF 84.) The FPPE
 12    accused Dr. Ryan of misappropriating patient information but conspicuously failed to
 13    mention, as Defendants knew, that this allegation referred to Dr. Ryan’s investigation of
 14    records to provide to the NIH. (DF 127.) The FPPE complained that Drs. White and
 15    Donayre were leaving Harbor because of Dr. White, again omitting that Dr. Ryan’s
 16    report to the NIH had led to them being disqualified for participating in the BEST-CLI
 17    trial. (DF 128.) The FPPE included multiple false statements from Drs. White and
 18    Donayre suggesting that Dr. Ryan’s reports to NIH were false, even though Defendants
 19    knew that Dr. Ryan’s reports led to the disqualification of Drs. White and Donayre. (DF
 20    130-131, 134.) Dr. Putnam investigated Dr. De Virgilio’s false claims that Dr. Ryan had
 21    been convicted of a felony, and knew them to be false, but allowed Dr. De Virgilio to
 22    make the claims in the official minutes of the MEC without correction. (DF 158-60.)
 23    Finally Dr. Putnam’s letters to Dr. Ryan accused him of “openly making unfounded
 24    accusations in an angry manner” (DF 162), even though Drs. Putnam and Vintch could
 25    not say what unfounded accusations Dr. Ryan made (DF 163, 168), and even though
 26    they knew that Dr. Ryan’s reports of Dr. White had led to the FPPE of Dr. White led to
 27    discussions of Dr. White’s privileges being restricted, and led to the NHI disqualifying
 28    Drs. White and Donayre from the BEST-CLI trial, and even though they knew that Dr.
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  1    Ryan’s fraud reports were not disproven but were passed along as “beyond the PSA’s
  2    investigatory purview.” (DF 86-89, 92.)
  3            Fifth, Defendants’ justifications for pursing Dr. Ryan were shifting and
  4    inconsistent. Dr. White’s complaints concerned Dr. Ryan’s review of medical files when
  5    preparing reports to the NIH and DA’s Office. (DF 81-82, 97-98.) The MEC’s minutes
  6    reflect that was their expressed reason for investigating Dr. Ryan. (DF 101.) Before Dr.
  7    Ryan’s complaints about Dr. White, Defendants were not aware of any other complaints
  8    against Dr. Ryan based on “unprofessional behavior.” (DF95.) In fact, complaints about
  9    Dr. Ryan’s supposedly unprofessional behavior were raised for the first time in
 10    discussions of Dr. Ryan’s complaints about Dr. White. (DF 93.) As Defendants
 11    emphasize, the FPPE focused on Dr. Ryan’s supposed “unprofessional conduct” towards
 12    other members of the medical staff. (DF 24.) Dr. De Virgilio, who formed the Ad Hoc
 13    Committee that investigated and drafted Dr. Ryan’s FPPE, does not know how the Ad
 14    Hoc Committee was instructed on the scope of their work or how they expanded beyond
 15    the issues raised by in Dr. White’s complaints. (DF 122-24.) Moreover, though the
 16    MEC’s initial focus was Dr. Ryan’s supposed HIPAA violations, and though the MEC
 17    asserted that it had a duty to report those supposed violations to authorities (DF 148),
 18    nobody at Harbor ever reported Dr. Ryan for those supposed HIPAA violations (DF
 19    173), and Dr. Putnam’s “Notice of Proposed Adverse Action and Hearing Rights” and
 20    “Notice of Charges” did not list HIPAA violations as a reason for its action. (DF 161-
 21    162.)
 22            Finally, though Defendants claim that they offered Dr. Ryan a Behavioral
 23    Contract in good faith and hoped he would accept it to resolve the matter, the evidence
 24    shows otherwise. The proposed contract required Dr. Ryan to admit to wrongdoing that
 25    he had not committed. (DF 33, 154.) The contract also included a term requiring Dr.
 26    Ryan to only make complaints about other physicians within Harbor channels – a term
 27    that on its face would prevent the very reports to outside authorities that Dr. Ryan made
 28    in this case. (DF 171.) They also demanded a waiver of claims against everyone
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  1    involved in the Agreement (DF 172) even though Drs. Vintch and Putnam were not
  2    aware of any other Behavioral Agreement with a waiver of claims. (DF 156-57.)
  3    Moreover, another doctor given a Behavioral Agreement for “unprofessional,
  4    intimidating, disruptive” behavior did not include any such waiver. (DF 157.) The MEC,
  5    including Dr. Putnam and Dr. Vintch, did not expect Dr. Ryan to accept the proposed
  6    Behavioral Contract (DF 153) and refused to make any changes to the proposed
  7    Behavioral Agreement based on Dr. Ryan’s objections. (DF 33.)
  8          This evidence creates a genuine dispute of material fact about whether Drs.
  9    Putnam’s and Vintch’s stated justifications for their actions were pretextual. Ellins, 710
 10    F.3d at 1064 (disputes of fact make summary judgment on motivation inappropriate);
 11    Mabey v. Reagan, 537 F.2d 1036, 1045 (9th Cir. 1976) (same).
 12    D.    Genuine Disputes Of Material Fact Preclude Summary Judgment on
 13          Defendants’ Justification And Inevitability Arguments
 14          Defendants argue that they are entitled to summary judgment because their actions
 15    were justified and because the MEC would have reached the same decision whether or
 16    not Dr. Ryan had engaged in protected speech. (Motion 24-27.) The same facts cited
 17    above that create a genuine dispute of material fact as to motive also create a genuine
 18    dispute of material fact as to those defenses. Whether punitive action would have been
 19    taken without protected speech, and whether the punitive action had an adequate
 20    justification “are entirely questions of fact” and when the record on them is “not
 21    undisputed,” summary judgment is inappropriate. Ellins, 710 F.3d at 1064. When
 22    “questions of motive predominate in the inquiry about how big a role the protected
 23    behavior played in the decision, summary judgment will usually not be appropriate.”
 24    Mabey, 537 F.2d at 1045. Here, the evidence discussed above shows that Drs. Putnam
 25    and Vintch acted in response to Dr. White’s demands that the PSA punish Dr. Ryan for
 26    his report to the NIH, acted based on an FPPE that made assertions they knew were
 27    untrue, proceeded with the FPPE without counseling Dr. Ryan first as was their normal
 28    practice, and demanded Dr. Ryan accept a Behavior Contract that included a waiver of
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  1    claims that they could not remember being used elsewhere. See Section C3, supra. In
  2    fact, Drs. Putnam and Vintch, leading the MEC, were worried that taking action would
  3    be retaliatory because it felt it had already investigated Dr. Ryan adequately and found
  4    nothing worthy of discipline (DF 101), and then scrubbed those damaging admissions
  5    from the minutes. (DF 102, 104.) Those disputed facts are more than enough to preclude
  6    summary judgment on justification or inevitability.
  7    E.      As The Ninth Circuit Previously Found, Defendants Are Not Entitled To
  8            Qualified Immunity
  9            Defendants also assert that they are entitled to summary judgment on the basis of
 10    qualified immunity. When a defendant asserts qualified immunity in a summary
 11    judgment motion, courts engage in a two-pronged inquiry. First, courts ask whether the
 12    facts “[t]aken in the light most favorable to the party asserting the injury, ... show the
 13    officer's conduct violated a [federal] right [.]” Tolan v. Cotton (2014) 572 U.S. 650, 655-
 14    56 (citations and internal quotations omitted). Courts “resolve all factual disputes in
 15    favor of the party asserting the injury.” Ellins, 710 F.3d at 1064. Second, courts ask
 16    whether the right in question was “clearly established” at the time of the violation – that
 17    is, whether the law at the time provided “fair warning” that the conduct was
 18    unconstitutional. Id. at 655; Mueller v. Auker, 57 F.3d 979, 993 (9th Cir. 2009) (rights
 19    are “clearly established” when they are “defined at the appropriate level of specificity”
 20    to make them clear to a defendant). Under this test, Defendants’ argument fails.
 21            The Ninth Circuit has already rejected Defendants’ assertion in this very case.
 22    When the Hon. Judge Real previously dismissed the FAC on the grounds of qualified
 23    immunity, the Ninth Circuit reversed, finding that Dr. Ryan’s right to be free of a
 24    retaliatory PSA investigation was well established.4
 25
       4
 26        The Ninth Circuit ruled:
 27            An adverse employment action is action “reasonably likely to deter [the plaintiff]
               from engaging in protected activity under the First Amendment.” Coszalter v. City
 28            of Salem, 320 F.3d 968, 976 (9th Cir. 2003) (internal quotation marks and
               alteration omitted). Since 2002, we have recognized that an employer’s decision
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  1          Nothing material has changed. Defendants fail both prongs of the two-prong test.
  2    First, as is set forth in detail above, Dr. Ryan’s evidence demonstrates that Defendants
  3    violated his First Amendment rights by retaliating against him for petitioning the
  4    government, an activity the First Amendment protects. Resolving all disputes in Dr.
  5    Ryan’s favor and considering all evidence in the light most favorable to Dr. Ryan, this is
  6    more than sufficient to defeat summary judgment. Tolan, 572 U.S. at 655.
  7          Second, Defendants violated a “clearly established” First Amendment right. As
  8    the Ninth Circuit found in this very case, it is clearly established that hospital officials
  9    violate the First Amendment by “initiat[ing] disciplinary proceedings against a doctor
 10    that threaten to revoke staff privileges, when combined with a negative effect on
 11    employment prospects” in retaliation for protected speech. Ryan, 777 F. App'x at 246.
 12    That is exactly what the Ninth Circuit found nearly 20 years ago in Ulrich. Ulrich, 308
 13    F.3d at 977. Defendants attempt to brush this clear law aside suggesting that Dr. Ryan
 14    has not shown a “negative effect on employment prospects.” But Dr. Ryan has shown
 15    that the investigation destroyed his career, and that being forced to disclose it in
 16    employment applications has led to rejection of dozens of job applications. (DF 170.)
 17    Moreover, “it was also clearly established under both Supreme Court and Ninth Circuit
 18    precedent that ‘the type of sanction ... ‘need not be particularly great in order to find that
 19    rights have been violated.’” Ellins, 710 F.3d at 1065.
 20

 21
             to initiate disciplinary proceedings against a doctor that threaten to revoke staff
 22          privileges, when combined with a negative effect on employment prospects, is
             enough to satisfy the “adverse employment action” requirement. Ulrich v. City &
 23          Cty. of San Francisco, 308 F.3d 968, 977 (9th Cir. 2002).
 24          We find the allegations here sufficiently similar to Ulrich to satisfy the clearly
             established prong of the qualified immunity analysis at this early stage.
 25          Construing all allegations in Dr. Ryan’s favor, he has alleged that the doctors
             initiated disciplinary proceedings which sought to revoke his staff privileges,
 26          voted to revoke those privileges, and served him with a notice of intent to
             suspend. He has also alleged that these decisions “will permanently impair [his]
 27          ability to seek and secure employment” in the future. Accordingly, qualified
             immunity is not warranted at this stage. Ryan v. Putnam, 777 F. App'x 245, 246
 28          (9th Cir. 2019).
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  1          Defendants also claim that it is not clearly established that they can be held
  2    individually responsible based merely on votes on the MEC. (Motion 31.) But that is not
  3    all that the facts, viewed in the light most favorable to Dr. Ryan, show that they did. Dr.
  4    Ryan has shown that Drs. Putnam and Vintch, did not merely issue passive votes, but led
  5    the MEC actions against Dr. Ryan as President and Vice-President of the PSA (DF 6, 7),
  6    altered minutes of MEC meetings to hide damaging admissions showing that the MEC
  7    knew its actions were retaliatory (DF 101-104), deliberately ignored information in the
  8    FPPE they knew misstated the evidence (DF 130-134), proceeded against Dr. Ryan
  9    without engaging in the counseling extended to other doctors (DF 136-146), and
 10    proceeded against Dr. Ryan in the face of indications that he was singled out for
 11    protected speech. (RF 79-85, 94, 96-101, 117-120, 148.).) This is exactly the individual
 12    deliberate retaliation against speech well-established precedent prohibits. Ulrich, 308
 13    F.3d 972-74 (supervisor filing adverse reports and making decisions about resignation);
 14    Poland v. Chertoff, 494 F.3d 1174, 1178-79 (supervisor initiating retaliatory inquiry).
 15          Defendants also attempt to spin the qualified immunity inquiry into an extended
 16    discussion of whether Defendants were aware they were violating each and every
 17    element of Section 1983 based on specific precedent regarding each element. (Motion
 18    30-33.) That’s the wrong inquiry. “The question is not whether an earlier case mirrors
 19    the specific facts here. Rather, the relevant question is whether ‘the state of the law at the
 20    time gives officials fair warning that their conduct is unconstitutional.’” Ellins, 710 F.3d
 21    at 1064 (overturning summary judgment based on qualified immunity in First
 22    Amendment retaliation case), quoting Bull v. City & Cnty. of San Francisco, 595 F.3d
 23    964, 1003 (9th Cir.2010) (en banc) (“[T]he specific facts of previous cases need not be
 24    materially or fundamentally similar to the situation in question.”) Defendants attempt to
 25    obfuscate the issue by relying extensively on qualified immunity cases concerning
 26    violations of Fourth Amendment rights by police officers, where the Supreme Court “has
 27    recognized that it is sometimes difficult for an officer to determine how the relevant
 28    legal doctrine ... will apply to the factual situation the officer confronts.” Mullenix v.
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  1    Luna, 136 S.Ct. 305, 308 (2015). That is not the case in First Amendment cases, where
  2    the Courts have put the matter far more broadly: “[i]n the classic whistleblower case the
  3    state has no legitimate interest in covering up corruption ... as an inevitable result of the
  4    Court’s jurisprudence and sound public policy, the First Amendment generally protects
  5    public employee whistleblowers from employer retaliation.” Dahlia, 735 F.3d at 1067.
  6          Dr. Ryan’s right to be free of retaliation for his protected speech was well-
  7    established, and Defendants’ qualified immunity arguments are without merit.
  8    F.    Genuine Disputes of Material Fact Preclude Summary Adjudication of
  9          Punitive Damages Against Dr. Putnam
 10          Defendants argue that they are entitled to partial summary adjudication of Dr.
 11    Ryan’s claim for punitive damages against Dr. Putnam because Dr. Ryan cannot prove
 12    Dr. Putnam acted with malice and conscious disregard for Dr. Ryan’s rights. (Motion
 13    33.) Once again Defendants are wrong.
 14          If Dr. Ryan proves that Dr. Putnam intentionally retaliated against him for
 15    protected speech, he satisfies the requirements of punitive damages. To be entitled to
 16    punitive damages in a Section 1983 case, Dr. Ryan must show that Dr. Putnam was
 17    motivated by an evil motive or intent or a reckless or callous indifference to Dr. Ryan’s
 18    federally protected rights. Smith v. Wade, 461 U.S. 30, 56 (1983). If Dr. Ryan proves
 19    intentional discrimination based on his speech, he will have “by definition have satisfied
 20    the requirement of showing the ‘reckless indifference’ required for an award of punitive
 21    damages.” Stender v. Lucky Stores, Inc., 803 F.Supp. 259, 324 (N.D. Cal. 1992). A
 22    finding of retaliation is sufficient to support punitive damages. Hemmings v. Tidyman's
 23    Inc., 285 F.3d 1174, 1199 (9th Cir. 2002) (evidence that was sufficient to support verdict
 24    of harassment and retaliation also sufficient to support punitive damages); Passantino v.
 25    Johnson Consumer Prods., Inc., 212 F.3d 493, 514-16 (9th Cir. 2000) (evidence of
 26    retaliation was “unquestionably sufficient” to satisfy the “malice or reckless
 27    indifference” standard for punitive damages under Title VII). Therefore, because Dr.
 28    Ryan can prove retaliation, he can also prove punitive damages.
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  1                                         IV. CONCLUSION
  2             For the foregoing reasons, the Court should deny Defendants’ motion for summary
  3    judgment, or alternatively, for summary adjudication.
  4     DATED: November 15, 2021                 BROWN WHITE & OSBORN LLP
  5
                                                 By s/Kenneth P. White
  6
                                                                THOMAS M. BROWN
  7                                                             KENNETH P. WHITE
                                                                 Attorneys for Plaintiff
  8                                                            TIMOTHY RYAN, M.D.
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